Case 3:16-cv-00948-JPG       Document 95-5 Filed 06/25/18         Page 1 of 60   Page ID
                                       #2001



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit A
    Case 3:16-cv-00948-JPG     Document 95-5     Filed 06/25/18   Page 2 of 60   Page ID
  NCRAW         *              PUBLIC INFORMATION
                                          #2002                   *    05-21-2018
PAGE 001        *                  INMATE DATA                    *    13:49:42
                                AS OF 05-21-2018

REGNO..: 13888-084 NAME: WHITE, WILLIAM A

                    RESP OF: MAR
                    PHONE..: 618-964-1441      FAX: 618-964-2058
                                               RACE/SEX...: WHITE / MALE
                                               AGE: 40
PROJ REL MT: GOOD CONDUCT TIME RELEASE         PAR ELIG DT: N/A
PROJ REL DT: 09-22-2037                        PAR HEAR DT:




G0002       MORE PAGES TO FOLLOW . . .
    Case 3:16-cv-00948-JPG          Document 95-5     Filed 06/25/18   Page 3 of 60   Page ID
  NCRAW           *              PUBLIC INFORMATION
                                            #2003                      *     05-21-2018
PAGE 002          *                  INMATE DATA                       *     13:49:42
                                  AS OF 05-21-2018

REGNO..: 13888-084 NAME: WHITE, WILLIAM A

                   RESP OF: MAR
                   PHONE..: 618-964-1441    FAX: 618-964-2058
HOME DETENTION ELIGIBILITY DATE: 03-22-2037

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: 09-22-2037 VIA GCT REL

----------------------CURRENT JUDGMENT/WARRANT NO: 020 ------------------------

COURT OF JURISDICTION...........: VIRGINIA, WESTERN DISTRICT
DOCKET NUMBER...................: DVAW708CR000054-001
JUDGE...........................: TURK
DATE SENTENCED/PROBATION IMPOSED: 04-14-2010
DATE SUPERVISION REVOKED........: 09-12-2012
TYPE OF SUPERVISION REVOKED.....: REG
DATE COMMITTED..................: 11-09-2012
HOW COMMITTED...................: COMMIT OF SUPERVISED REL VIOL
PROBATION IMPOSED...............: NO

                   FELONY ASSESS     MISDMNR ASSESS FINES                COSTS
NON-COMMITTED.:    $300.00           $00.00         $00.00              $00.00

RESTITUTION...:    PROPERTY:   NO    SERVICES:   NO          AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 121
OFF/CHG: 18:875(C) INTERSTATE COMMUNICATION OF A THREAT TO INJURE(2 CTS
         18:1512(B)(1) TAMPERING WITH A WITNESS; (SRT VIOL)

 SENTENCE PROCEDURE.............: SUPERVISED RELEASE VIOLATION PLRA
 SENTENCE IMPOSED/TIME TO SERVE.:    10 MONTHS
 DATE OF OFFENSE................: 03-22-2007

----------------------CURRENT JUDGMENT/WARRANT NO: 030 ------------------------

COURT OF JURISDICTION...........: ILLINOIS, NORTHERN DISTRICT
DOCKET NUMBER...................: 08-CR-851
JUDGE...........................: ADELMAN
DATE SENTENCED/PROBATION IMPOSED: 02-20-2013
DATE COMMITTED..................: 05-03-2013
HOW COMMITTED...................: US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............: NO




G0002       MORE PAGES TO FOLLOW . . .
    Case 3:16-cv-00948-JPG          Document 95-5     Filed 06/25/18   Page 4 of 60   Page ID
  NCRAW           *              PUBLIC INFORMATION
                                            #2004                      *     05-21-2018
PAGE 003          *                  INMATE DATA                       *     13:49:42
                                  AS OF 05-21-2018

REGNO..: 13888-084 NAME: WHITE, WILLIAM A

                     RESP OF: MAR
                     PHONE..: 618-964-1441   FAX: 618-964-2058
                   FELONY ASSESS MISDMNR ASSESS FINES           COSTS
NON-COMMITTED.:    $100.00        $00.00        $00.00         $00.00

RESTITUTION...:    PROPERTY:   NO    SERVICES:   NO          AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 580
OFF/CHG: 18:373, 1503 SOLICITATION TO COMMIT CRIME OF
         VIOLENCE/INFLUENCING JUROR, CT-1

 SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:    42 MONTHS
 TERM OF SUPERVISION............:     3 YEARS
 RELATIONSHIP OF THIS OBLIGATION
  TO OTHERS FOR THE OFFENDER....: C/C TO 08-CR-54
 DATE OF OFFENSE................: 10-11-2008

----------------------CURRENT JUDGMENT/WARRANT NO: 040 ------------------------

COURT OF JURISDICTION...........: VIRGINIA, WESTERN DISTRICT
DOCKET NUMBER...................: DVAW713CR000013-001
JUDGE...........................: TURK
DATE SENTENCED/PROBATION IMPOSED: 05-01-2014
DATE COMMITTED..................: 01-09-2015
HOW COMMITTED...................: US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............: NO

                   FELONY ASSESS     MISDMNR ASSESS FINES                COSTS
NON-COMMITTED.:    $400.00           $00.00         $00.00              $00.00

RESTITUTION...:    PROPERTY:   NO    SERVICES:   NO          AMOUNT:    $00.00




G0002       MORE PAGES TO FOLLOW . . .
    Case 3:16-cv-00948-JPG          Document 95-5     Filed 06/25/18   Page 5 of 60   Page ID
  NCRAW           *              PUBLIC INFORMATION
                                            #2005                      *     05-21-2018
PAGE 004          *                  INMATE DATA                       *     13:49:42
                                  AS OF 05-21-2018

REGNO..: 13888-084 NAME: WHITE, WILLIAM A

                   RESP OF: MAR
                   PHONE..: 618-964-1441    FAX: 618-964-2058
-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 121
OFF/CHG: 18:875(B) EXTORTION BY INTERSTATE COMMUNICATION, CT- 1, 3, & 4
         18:875(C) THREAT BY INTERSTATE COMMUNICATION, CT-2

 SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:     92 MONTHS
 TERM OF SUPERVISION............:      3 YEARS
 RELATIONSHIP OF THIS OBLIGATION
  TO OTHERS FOR THE OFFENDER....: C/S
 DATE OF OFFENSE................: 05-27-2012

----------------------CURRENT JUDGMENT/WARRANT NO: 050 ------------------------

COURT OF JURISDICTION...........: FLORIDA, MIDDLE DISTRICT
DOCKET NUMBER...................: 6:13-CR-304-ORL-28GL
JUDGE...........................: ANTOON
DATE SENTENCED/PROBATION IMPOSED: 11-21-2014
DATE COMMITTED..................: 01-09-2015
HOW COMMITTED...................: US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............: NO

                   FELONY ASSESS     MISDMNR ASSESS FINES                COSTS
NON-COMMITTED.:    $500.00           $00.00         $00.00              $00.00

RESTITUTION...:    PROPERTY:   NO    SERVICES:   NO          AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 899
OFF/CHG: 18:875(B) & 2 EXTORTION BY INTERSTATE COMMUNICATION CT 1
         18:875(B) & 2 EXTORTION BY INTERSTATE COMMUNICATION CT 2 - 5

 SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:   210 MONTHS
 TERM OF SUPERVISION............:     3 YEARS
 RELATIONSHIP OF THIS OBLIGATION
  TO OTHERS FOR THE OFFENDER....: C/S
 DATE OF OFFENSE................: 05-19-2012




G0002       MORE PAGES TO FOLLOW . . .
    Case 3:16-cv-00948-JPG     Document 95-5      Filed 06/25/18   Page 6 of 60   Page ID
  NCRAW         *              PUBLIC INFORMATION
                                          #2006                    *     05-21-2018
PAGE 005        *                  INMATE DATA                     *     13:49:42
                                AS OF 05-21-2018

REGNO..: 13888-084 NAME: WHITE, WILLIAM A

                    RESP OF: MAR
                    PHONE..: 618-964-1441      FAX: 618-964-2058

-------------------------CURRENT COMPUTATION NO: 020 --------------------------

COMPUTATION 020 WAS LAST UPDATED ON 04-12-2018 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 04-12-2018 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 020: 020 010, 030 010, 040 010, 050 010

DATE COMPUTATION BEGAN..........: 09-12-2012
AGGREGATED SENTENCE PROCEDURE...: AGGREGATE GROUP 800 PLRA
TOTAL TERM IN EFFECT............:   349 MONTHS     8 DAYS
TOTAL TERM IN EFFECT CONVERTED..:    29 YEARS      1 MONTHS            8 DAYS
AGGREGATED TERM OF SUPERVISION..:     3 YEARS
EARLIEST DATE OF OFFENSE........: 03-22-2007

JAIL CREDIT.....................:    FROM DATE       THRU DATE
                                     03-17-2011      04-21-2011
                                     06-08-2012      09-11-2012

TOTAL PRIOR CREDIT TIME.........: 132
TOTAL INOPERATIVE TIME..........: 0
TOTAL GCT EARNED AND PROJECTED..: 1356
TOTAL GCT EARNED................: 309
STATUTORY RELEASE DATE PROJECTED: 09-22-2037
EXPIRATION FULL TERM DATE.......: 06-09-2041
TIME SERVED.....................:      6 YEARS       19 DAYS
PERCENTAGE OF FULL TERM SERVED..: 20.7




G0002       MORE PAGES TO FOLLOW . . .
    Case 3:16-cv-00948-JPG     Document 95-5     Filed 06/25/18    Page 7 of 60   Page ID
  NCRAW         *              PUBLIC INFORMATION
                                          #2007                   *     05-21-2018
PAGE 006 OF 006 *                  INMATE DATA                    *     13:49:42
                                AS OF 05-21-2018

REGNO..: 13888-084 NAME: WHITE, WILLIAM A

                    RESP OF: MAR
                    PHONE..: 618-964-1441      FAX: 618-964-2058

PROJECTED SATISFACTION DATE.....: 09-22-2037
PROJECTED SATISFACTION METHOD...: GCT REL




G0000       TRANSACTION SUCCESSFULLY COMPLETED
Case 3:16-cv-00948-JPG       Document 95-5 Filed 06/25/18         Page 8 of 60   Page ID
                                       #2008



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit B
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 9 of 60   Page ID
                                   #2009
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 10 of 60   Page ID
                                    #2010
Case 3:16-cv-00948-JPG      Document 95-5 Filed 06/25/18          Page 11 of 60   Page ID
                                       #2011



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit C
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 12 of 60   Page ID
                                    #2012
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 13 of 60   Page ID
                                    #2013
Case 3:16-cv-00948-JPG      Document 95-5 Filed 06/25/18          Page 14 of 60   Page ID
                                       #2014



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit D
Case 3:16-cv-00948-JPG            Document 95-5 Filed 06/25/18          Page 15 of 60   Page ID
                                             #2015

                                                U.S. Department of Justice
                                                Federal Bureau of Prisons
                                                North Central Regional Office



 Office of the Regional Counsel                 400 State Avenue
                                                Tower II, Suite 800
                                                Kansas City, KS 66101


   September 26, 2016
   William White
   Register Number 13888-084
   USP Marion
   PO Box 1000
   Marion, Illinois 62959
   Dear William White:

   The Federal Bureau of Prisons (BOP) received your Freedom of Information
   Act/Privacy Act (FOIA/PA) request. Your request has been assigned a number and
   forwarded to the processing office noted below. Please make a note of the request
   number and processing office as you will need to include it in any correspondence or
   inquiry regarding your request. You request a copy of all records including, medical,
   psychology, administrative remedy, tort claims, disciplinary records, SENTRY,
   intelligence; all maintenance records related to the 11th floor SHU in MCC Chicago
   from October 17, 2008 to December 29, 2008; and green SHU log books for the
   same time period.

   FOIA/PA Request Number:               2016-07558
   Processing Office:                    NCR

   The time needed to complete our processing of your request depends on the
   complexity of our records search and the volume and complexity of any records
   located. Each request is assigned to one of three tracks: simple, complex, or
   expedited. Due to the large number of FOIA/PA requests received by BOP and the
   limited resources available to process such requests, BOP handles each request on
   a first-in, first-out basis in relation to other requests in the same track. Your request
   was assigned to complex track and placed in chronological order based on the date
   of receipt.

   We determined exceptional circumstances exist as the documents responsive to your
   request must be searched for and collected from a field office, and/or the documents
   responsive to your request are expected to be voluminous and will require significant
   time to review, and/or your request requires consultation with at least one other
   agency with a substantial interest in your request. Because of these unusual
   circumstances, we are extending the time limit to respond to your request beyond the
Case 3:16-cv-00948-JPG      Document 95-5 Filed 06/25/18          Page 16 of 60     Page ID
                                       #2016

   ten additional days provided by the statute. Processing complex requests may take
   up to nine months. Pursuant to 28 C.F.R. § 16.5(b) and (c), you may narrow or modify
   your request in an effort to reduce the processing time.

   Pursuant to 28 C.F.R. § 16.10, in certain circumstances we are required to charge
   fees for time spent searching for or duplicating responsive documents. If we
   anticipate your fees will be in excess of $25.00 or the amount you have indicated you
   are willing to pay, we will notify you of the estimated amount. At that time, you will
   have the option to reformulate your request to reduce the fees. If you requested a fee
   waiver, we will make a decision whether to grant your request after we determine
   whether fees will be assessed for this request.

   If you have questions regarding the status of your request or anything discussed in
   this letter, you may contact the North Central Regional Office or the BOP FOIA Public
   Liaison, Mr. C. Darnell Stroble at (202) 616-7750 or BOP FOIA Section, 320 First
   Street, NW, Room 936, Washington, D.C. 20534. You can also check the status of
   your request on line at http://www.bop.gov/PublicInfo/execute/foia.


   Sincerely,




   Richard W. Schott
   Regional Counsel
Case 3:16-cv-00948-JPG      Document 95-5 Filed 06/25/18          Page 17 of 60   Page ID
                                       #2017



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit E
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 18 of 60   Page ID
                                    #2018
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 19 of 60   Page ID
                                    #2019
Case 3:16-cv-00948-JPG      Document 95-5 Filed 06/25/18          Page 20 of 60   Page ID
                                       #2020



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit F
Case 3:16-cv-00948-JPG            Document 95-5 Filed 06/25/18          Page 21 of 60   Page ID
                                             #2021



                                                U.S. Department of Justice
                                                Federal Bureau of Prisons
                                                North Central Regional Office


 Office of the Regional Counsel
                                                400 State Avenue
                                                Tower II, Suite 800
                                                Kansas City, KS 66101



March 20, 2018



William White
Reg. No. 13888-084
USP Marion
P.O. Box 1000
Marion, IL 62959

Re: Information Request No. 2016-07558 (Supplemental Release)

Dear Requester:

This is a supplement to the response provide on February 9, 2018, for the above-
referenced FOIA request. Specifically, you requested a copy of your medical records;
psychology records; administrative remedies; tort claims; disciplinary records; Sentry
records; SIS (intelligence record system) records; all communication between BOP
personnel and other law enforcement agencies; all maintenance records and green SHU
log books related to the 11th floor SHU of MCC Chicago from October 17, 2008 to
December 29, 2008.

Upon further review, our office discovered the initial search for administrative remedies
conducted on September 27, 2017, did not include remedies filed only at the institution
level. Accordingly we are now supplementing our response to include those remedies.
Similarly, the initial search for administrative tort claims did not appear to be complete.
Accordingly, a new search for all administrative claims was conducted on February 28,
2018, which are included in this response.

For your convenience we are providing the entire release to FOIA #2016-07558, including
the supplemental documents discussed above. All documents are bates stamped for
reference purposes. Bates numbers 1277 through 1640 consists of the supplement to the
original February 9, 2018 release of documents.

The Attorney General has exempted the Bureau of Prisons from certain provisions of the
Case 3:16-cv-00948-JPG       Document 95-5 Filed 06/25/18           Page 22 of 60      Page ID
                                        #2022


Privacy Act of 1974. Title 5 U.S.C. Section 552a(j). Therefore, all material granted, excised
from documents, or denied herein has been processed under the authority of an alternative
means of access, which is part of said exemption. The exemption, including the alternative
means of access, is set forth in Title 28 Code of Federal Regulations, Section 16.97.
Accordingly, access rights are limited to those provided by the non-exempted portions of
the Privacy Act of 1974 and the Freedom of Information Act, Title 5 U.S.C. Section 552 and
as implemented by Title 28 Code of Federal Regulations, Part 16, Subpart A and D. The
procedures established for use by the Bureau of Prisons are outlined in Program Statement
1351.05, Release of Information, and Program Statement 5800.11, Inmate Central File,
Privacy Folder and Parole Commission File.

The records you have requested have been reviewed in this office and it has been
determined that a portion of the records (602 pages) may be released to you in full and a
portion of the records (468 pages) may be released to you in part. The remaining records
(570 pages) are not releasable to you.

Pursuant to the Freedom of Information Act, 5 U.S.C. 552(b)(2)-(7), portions of the records
are exempt in part or in full from disclosure to you under the following exemptions:

(b)(3) - concerns matters specifically exempted from release by statute
(b)(5) - concerns certain inter- and intra-agency communications protected by the
deliberative process privilege, the attorney work-product privilege, and/or the attorney-
client privilege
(b)(6) - concerns material the release of which would constitute a clearly unwarranted
invasion of the personal privacy of third parties
(b)(7)(C) - concerns records or information compiled for law enforcement purposes the
release of which could reasonably be expected to constitute an unwarranted invasion of
the personal privacy of third parties
(b)(7)(E) - concerns records or information compiled for law enforcement purposes the
release of which would disclose techniques and procedures for law enforcement
investigations or prosecutions
(b)(7)(F) - concerns records or information compiled for law enforcement purposes the
release of which could reasonably be expected to endanger the life or personal safety of
an individual

If you are not satisfied with the response to this request, you may administratively appeal
by writing to the Director, Office of Information Policy (OIP), United States Department of
Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC 20530-0001. Your
appeal must be postmarked within 90 days of the date of the response to your request. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked
“Freedom of Information Act Appeal.” Additionally, you have the right to seek dispute
resolution services from BOP’s FOIA Public Liaison, Mr. C. Darnell Stroble (202) 616-7750
or the Office of Government Information Services (OGIS). OGIS offers mediation services
to resolve disputes between FOIA requesters and Federal agencies as a non-exclusive
alternative to litigation. Using OGIS services does not affect your right to pursue litigation.
The contact information for OGIS is as follows: Office of Government Information Services,
National Archives and Records Administration, Room 2510, 8601 Adelphi Road, College
Park, Maryland 20740-6001; telephone at (202) 741-5770; toll free at 1-877-684-6448; or
Case 3:16-cv-00948-JPG     Document 95-5 Filed 06/25/18   Page 23 of 60   Page ID
                                      #2023


facsimile at (202) 741-5769.

Sincerely,



Richard M. Winter
Regional Counsel
Case 3:16-cv-00948-JPG      Document 95-5 Filed 06/25/18          Page 24 of 60   Page ID
                                       #2024



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit G
Case 3:16-cv-00948-JPG            Document 95-5 Filed 06/25/18          Page 25 of 60   Page ID
                                             #2025



                                                U.S. Department of Justice
                                                Federal Bureau of Prisons
                                                North Central Regional Office


 Office of the Regional Counsel
                                                400 State Avenue
                                                Tower II, Suite 800
                                                Kansas City, KS 66101



June 6, 2018



William White
Reg. No. 13888-084
USP Marion
P.O. Box 1000
Marion, IL 62959

Re: Information Request No. 2016-07558 (Supplemental Release)

Dear Requester:

This is a supplemental response to the responses provided on February 9, 2018 and March
20, 2018, for the above referenced FOIA request. Specifically, you request a copy of your
medical records, psychology records, administrative remedies, tort claims, disciplinary
records, Sentry records, SIS (intelligence record system) records, all communication
between BOP personnel and other law enforcement agencies, all maintenance records and
green SHU log books related to the 11th floor SHU of MCC Chicago from October 17, 2008
to December 29, 2008.

The Attorney General has exempted the Bureau of Prisons from certain provisions of the
Privacy Act of 1974. Title 5 U.S.C. Section 552a(j). Therefore, all material granted, excised
from documents, or denied herein has been processed under the authority of an alternative
means of access, which is part of said exemption. The exemption, including the alternative
means of access, is set forth in Title 28 Code of Federal Regulations, Section 16.97.
Accordingly, access rights are limited to those provided by the non-exempted portions of
the Privacy Act of 1974 and the Freedom of Information Act, Title 5 U.S.C. Section 552 and
as implemented by Title 28 Code of Federal Regulations, Part 16, Subpart A and D. The
procedures established for use by the Bureau of Prisons are outlined in Program Statement
1351.05, Release of Information, and Program Statement 5800.11, Inmate Central File,
Privacy Folder and Parole Commission File.

Upon further review of the March 20, 2018 response it was discovered that a portion of the
Case 3:16-cv-00948-JPG       Document 95-5 Filed 06/25/18           Page 26 of 60      Page ID
                                        #2026


SHU Daily log books from December 15 through December 29, 2008 were missing from the
production. These additional records have been reviewed in this office and it has been
determined that a portion of the records (0 pages) may be released to you in full and a
portion of the records (27 pages) may be released to you in part. The remaining records (0
pages) are not releasable to you.

Pursuant to the Freedom of Information Act, 5 U.S.C. 552(b)(2)-(7), portions of the records
are exempt in part or in full from disclosure to you under the following exemptions:

(b)(6) - concerns material the release of which would constitute a clearly unwarranted
invasion of the personal privacy of third parties
(b)(7)(C) - concerns records or information compiled for law enforcement purposes the
release of which could reasonably be expected to constitute an unwarranted invasion of
the personal privacy of third parties
(b)(7)(E) - concerns records or information compiled for law enforcement purposes the
release of which would disclose techniques and procedures for law enforcement
investigations or prosecutions
(b)(7)(F) - concerns records or information compiled for law enforcement purposes the
release of which could reasonably be expected to endanger the life or personal safety of
an individual

In addition, we have determined the taxpayer identification number on Bates page 1291
of the March 20, 2018 release belongs to you, therefore we are no longer asserting
Exemption (B)(3) for this information on the enclosed page.

If you are not satisfied with my response to this request, you may administratively appeal
by writing to the Director, Office of Information Policy (OIP), United States Department of
Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC 20530-0001. Your
appeal must be postmarked within 90 days of the date of my response to your request. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked
“Freedom of Information Act Appeal.” Additionally, you have the right to seek dispute
resolution services from BOP’s FOIA Public Liaison, Mr. C. Darnell Stroble (202) 616-7750
or the Office of Government Information Services (OGIS). OGIS offers mediation services
to resolve disputes between FOIA requesters and Federal agencies as a non-exclusive
alternative to litigation. Using OGIS services does not affect your right to pursue litigation.
The contact information for OGIS is as follows: Office of Government Information Services,
National Archives and Records Administration, Room 2510, 8601 Adelphi Road, College
Park, Maryland 20740-6001; telephone at (202) 741-5770; toll free at 1-877-684-6448; or
facsimile at (202) 741-5769.

Sincerely,



Richard M. Winter
Regional Counsel
Case 3:16-cv-00948-JPG      Document 95-5 Filed 06/25/18          Page 27 of 60   Page ID
                                       #2027



William A. White v. Department of Justice, et al., No. 3:16-cv-948-JPG-DGW


Fenstermaker Declaration
Exhibit H
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 28 of 60   Page ID
                                    #2028
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 29 of 60   Page ID
                                    #2029
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 30 of 60   Page ID
                                    #2030
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 31 of 60   Page ID
                                    #2031
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 32 of 60   Page ID
                                    #2032
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 33 of 60   Page ID
                                    #2033
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 34 of 60   Page ID
                                    #2034
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 35 of 60   Page ID
                                    #2035
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 36 of 60   Page ID
                                    #2036
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 37 of 60   Page ID
                                    #2037
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 38 of 60   Page ID
                                    #2038
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 39 of 60   Page ID
                                    #2039
Case 3:16-cv-00948-JPG   Document 95-5 Filed 06/25/18   Page 40 of 60   Page ID
                                    #2040
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